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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 16-002
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   ERIN TERRIL WILEY,                   )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Commit Bank Fraud

15 Date of Detention Hearing:     February 23, 2016.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged by complaint with using Point-of-Sale terminals to



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01 fraudulently process returns from retail merchants, then loading the funds onto prepaid cards

02 and withdrawing the allegedly fraudulently funds as cash withdrawals. The AUSA proffers

03 that over one million dollars in proceeds from the scheme has not been recovered.

04          2.     Defendant’s criminal history includes many failures to appear for court with

05 resultant bench warrant activity. There is an outstanding warrant from Kent Municipal Court

06 related to failure to pay fines. Defendant is associated with at least four known aliases (the

07 AUSA proffers there are more than that number), three different social security numbers and

08 two different dates of birth.

09          3.     The AUSA proffers that case agents attempted to arrest defendant at his current

10 residence on several occasions, and were told by an unknown male that he did not know who

11 defendant was, despite defendant having been seen by case agents at the residence previously.

12 Defendant was ultimately arrested in Pierce County, at first giving his brother’s name, then

13 admitting to his true identity.

14          4.     Defendant poses a risk of nonappearance due to a history of failing to appear,

15 history of controlled substance use, lack of employment, alias identifications, allegations of

16 attempts to elude arrest, and outstanding warrant activity. Defendant poses a risk of danger due

17 to criminal history and the nature of the instant charges.

18          5.     There does not appear to be any condition or combination of conditions that will

19 reasonably assure the defendant’s appearance at future Court hearings while addressing the

20 danger to other persons or the community.

21 It is therefore ORDERED:

22      1. Defendant shall be detained pending trial and committed to the custody of the Attorney



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01        General for confinement in a correction facility separate, to the extent practicable, from

02        persons awaiting or serving sentences or being held in custody pending appeal;

03     2. Defendant shall be afforded reasonable opportunity for private consultation with

04        counsel;

05     3. On order of the United States or on request of an attorney for the Government, the

06        person in charge of the corrections facility in which defendant is confined shall deliver

07        the defendant to a United States Marshal for the purpose of an appearance in connection

08        with a court proceeding; and

09     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

10        for the defendant, to the United States Marshal, and to the United State Pretrial Services

11        Officer.

12        DATED this 24th day of February, 2016.

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14                                                      A
                                                        Mary Alice Theiler
15                                                      United States Magistrate Judge

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